 Case 2:19-cv-00877         Document 42    Filed 05/14/20   Page 1 of 15 PageID #: 312




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                CHARLESTON DIVISION


MARK LETART, et al.,

                             Plaintiffs,

v.                                               CIVIL ACTION NO. 2:19-cv-00877

UNION CARBIDE CORPORATION,

                             Defendant.



                        MEMORANDUM OPINION AND ORDER

          Pending before the court is a Motion to Dismiss Plaintiff’s First Amended Class

Action Complaint, [ECF No. 27], Pursuant to Federal Rule of Civil Procedure 12(b)(6),

filed by Defendant, Union Carbide Corporation (“Union Carbide”). [ECF No. 33].

Plaintiff, Mark Letart, has responded, [ECF No. 41], and the Motion is now ripe for

adjudication. The Motion is GRANTED in part and DENIED in part for the reasons

that follow.

     I.      Introduction

          Plaintiff in this case brings a class action against Union Carbide, the owner

and operator of a manufacturing facility in Institute, West Virginia, for damages

resulting from Defendant’s alleged dangerous and reckless emission of ethylene oxide

(“EtO”). Pl.’s First Amend. Class Action Compl. ¶ 1 [ECF No. 27]. Plaintiff alleges

that EtO is a colorless and odorless known carcinogen that the Environmental
 Case 2:19-cv-00877      Document 42     Filed 05/14/20    Page 2 of 15 PageID #: 313




Protection Agency (“EPA”) classifies as a “hazardous air pollutant.” Id. at ¶¶ 1–19.

The First Amended Class Action Complaint ( the “Complaint”) alleges that U.S.

companies became broadly aware of EtO’s carcinogenic effects in 1977 and the

National Institute of Occupational Safety and Health (the “NIOSH”), the U.S.

Department of Health and Human Services (the “HHS”), the World Health

Organization (the “WHO”), and the EPA have continued to confirm EtO’s

carcinogenic and mutagenic properties since 1977. See id. at ¶¶ 19–27. Plaintiff

further claims that “[w]hile acute inhalation exposure to high concentrations of EtO

can cause headache, dizziness, nausea, fatigue, respiratory irritation, vomiting and

other types of gastrointestinal distress, studies show that long-term exposure to EtO

increases the risk of cancer, including lymphomas, leukemias, myeloma, and breast

cancer.” Id. at ¶ 20.

       Defendant’s plant in Institute manufactures EtO and utilizes EtO for other

heavy industrial processes. According to Plaintiff, Defendant’s plant in Institute has

emitted huge volumes of EtO gas as a result of these operations every year since 1978.

Id. at ¶ 17. Plaintiff claims that because EtO’s half-life in the atmosphere is 211 days,

it can remain in the atmosphere for months; and because it is heavier than air, it can

linger and travel along the ground. Id. at ¶¶ 29–30. Union Carbide allegedly operated

its plant in Institute “without sufficient pollution controls to limit and/or eliminate

the emissions of toxic EtO” and failed to warn Plaintiff and putative Class Members

that “the air was materially contaminated with toxic levels of EtO.” Id. at ¶¶ 36, 38.

       The Complaint avers that the “EPA’s 2014 National Air Toxics Assessment



                                           2
 Case 2:19-cv-00877       Document 42     Filed 05/14/20    Page 3 of 15 PageID #: 314




(‘NATA’) demonstrated severe cancer risks in the area surrounding the plant in

Institute. The 2014 NATA places the cancer risks of the census tracts measured in

and around Institute as the highest in West Virginia and among the highest in the

country.” Id. at ¶ 33. Plaintiff further avers that the 2014 NATA indicates that the

“the elevated cancer risks in and around Institute are almost entirely due to Union

Carbide’s EtO emissions.” Id. at ¶ 33.

         Plaintiff and putative Class Members have lived within the vicinity of

Defendant’s plant in Institute during the time Defendant has been emitting EtO. Id.

at ¶ 42. The Complaint claims that Plaintiff and putative Class Members live in an

area that has been identified [to] “present more than a doubled increase in likelihood

of developing cancer as compared to the vast majority of the U.S. population living in

other areas.” Id. at ¶ 44. The Complaint further states that “the EPA estimates that

Class Members are up to 11 times more likely to develop cancer than the average

American.” Id. at ¶ 5. Plaintiff and Class Members are “at an increased risk of

developing cancer, and periodic diagnostic medical examinations are reasonably

necessary” as a result of Defendant’s conduct. Id. at ¶¶ 46, 47.

         Plaintiff brings this class action against Defendant, alleging the following

claims: (1) negligence (Count I); (2) ultrahazardous activity/strict liability (Count II);

(3) medical monitoring (Count III); and (4) willful and wanton conduct (Count IV).

Defendant now moves for dismissal pursuant to Federal Rule of Civil Procedure

12(b)(6). [ECF No. 33].

   II.      Legal Standard



                                            3
 Case 2:19-cv-00877      Document 42      Filed 05/14/20    Page 4 of 15 PageID #: 315




      Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

8(a)(2). “When ruling on a motion to dismiss, courts must accept as true all of the

factual allegations contained in the complaint and draw all reasonable inferences in

favor of the plaintiff.” Farnsworth v. Loved Ones in Home Care, LLC, No. 2:18-CV-

01334, 2019 WL 956806, at *1 (S.D.W. Va. Feb. 27, 2019) (citing E.I. du Pont de

Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th Cir. 2011)).

      To survive a motion to dismiss, the plaintiff’s factual allegations, taken as true,

must “state a claim to relief that is plausible on its face.” Robertson v. Sea Pines Real

Estate Co., 679 F.3d 278, 288 (4th Cir. 2012) (quoting Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009)). The plausibility standard is not a probability requirement, but “asks for

more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S.

at 678 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). Although “the

complaint must contain sufficient facts to state a claim that is plausible on its face, it

nevertheless need only give the defendant fair notice of what the claim is and the

grounds on which it rests.” Hall v. DIRECTV, LLC, 846 F.3d 757, 777 (4th Cir. 2017).

Thus, “a complaint is to be construed liberally so as to do substantial justice.” Id.

   III.   Discussion

          a. Traditional Tort Claims – Negligence, Willful and Wanton Conduct, and
             Strict Liability

      Plaintiff alleges three traditional tort claims against Defendant: Count I–

negligence; Count IV–willful and wanton Conduct; and Count III– ultrahazardous

activity/strict liability. Defendant moves to dismiss on two main bases. First, that

                                            4
 Case 2:19-cv-00877      Document 42     Filed 05/14/20    Page 5 of 15 PageID #: 316




Plaintiff failed to plead a cognizable injury. And second, that the factual allegations

in Plaintiff’s Complaint are insufficient to support a claim for each tort.

      Non-injurious conduct—no matter how tortious—is not justiciable. All three of

these traditional torts require a plaintiff to allege that he or she sustained an injury

or harm caused by defendant’s tortious conduct. See Rhodes v. E.I. du Pont de

Nemours & Co., 636 F.3d 88, 94 (4th Cir. 2011). Under West Virginia law, the

elements of a negligence action are: (1) the existence of a duty, (2) the breach of that

duty, (3) loss or damage to another caused by the breach, and (4) actual loss or

damage to another. W. Page Keeton et al., Prosser and Keeton on the Law of Torts §

30 (5th ed.1984); see also Strahin v. Cleavenger, 603 S.E.2d 197, 205 (W. Va. 2004).

The distinction between negligence and willful and wanton conduct rests on the

requisite mental state. See Groves v. Groves, 158 S.E.2d 710, 713 (W. Va. 1968). To

establish willful and wanton conduct, a plaintiff must show that the defendant “was

conscious of [its] conduct, and conscious ... that injury would likely or probably result

from [its] conduct, and that with reckless indifference to consequences [it] consciously

and intentionally did some wrongful act or omitted some known duty which produced

the injurious result.” Stone v. Rudolph, 32 S.E.2d 742, 749–50 (W. Va. 1944).

      West Virginia law adopts the doctrine of strict liability for abnormally

dangerous activity as articulated in the Restatement (Second) of Torts (1976). Crum

v. Equity Inns, Inc., 685 S.E.2d 219, 230 (W. Va. 2009). “Restatement (Second) of

Torts § 519 (1976) provides that: (1) One who carries on an abnormally dangerous

activity is subject to liability for harm to the person, land or chattels of another



                                           5
 Case 2:19-cv-00877      Document 42     Filed 05/14/20    Page 6 of 15 PageID #: 317




resulting from the activity, although he has exercised the utmost care to prevent the

harm; and (2) [t]his strict liability is limited to the kind of harm, the possibility of

which makes the activity abnormally dangerous.” Id.

      In general, to satisfy the harm element of these torts, “an injury must already

have occurred, although a plaintiff sometimes may recover for future effects of a

present injury that are reasonably certain to occur.” See Rhodes, 636 F.3d at 94 (citing

Cook v. Cook, 607 S.E.2d 459, 464 (W. Va. 2004)); see also Ellard v. Harvey, 231

S.E.2d 339, 342 (W. Va. 1976) (holding that “a plaintiff may recover the cost of

reasonable and necessary future medical and hospital services and for future pain

and suffering where the evidence shows that it is reasonably certain that such future

expenses will be incurred and are proximately related to the negligence of the

defendant”). “[C]ontingent or merely possible future injurious effects are too remote

and speculative to support a lawful recovery.” Callihan v. Surnaik Holdings of WV,

LLC, No. 2:17-CV-04386, 2018 WL 6313012, at *2 (S.D.W. Va. Dec. 3, 2018) (denying

defendants’ motion to dismiss claims for negligence and gross negligence because

there were factual allegations of past injury suffered); Barker v. Naik, No. 2:17-CV-

04387, 2018 WL 3824376, at *3 (S.D.W. Va. Aug. 10, 2018) (granting defendant’s

motion to dismiss because plaintiffs’ allegations that they were reasonably certain to

suffer “effects of physical exposure to noxious emissions from the fire” was insufficient

to plead an injury).

      In Rhodes, the Fourth Circuit affirmed that the presence of a toxic substance

in plaintiffs’ blood, standing alone, was insufficient to “establish harm or injury for



                                           6
 Case 2:19-cv-00877     Document 42     Filed 05/14/20    Page 7 of 15 PageID #: 318




the purposes of proving a negligence claim under West Virginia law.” Rhodes, 636

F.3d at 95. That case involved allegations that E.I. du Pont de Nemours and Company

(“DuPont”) had, for an extended period of time, discharged chemicals into the

environment surrounding Wood County, West Virginia, thereby contaminating the

drinking water in the area. Rhodes v. E.I. du Pont de Nemours & Co., 657 F. Supp.

2d 751, 755 (S.D.W. Va. 2009), judgment entered, No. 6:06-CV-00530, 2010 WL

11622804 (S.D.W. Va. Jan. 6, 2010), and aff’d in part, appeal dismissed in part, 636

F.3d 88 (4th Cir. 2011). In that case, plaintiffs argued that because of defendant’s

tortious conduct they suffered a “significantly increased risk of developing certain

diseases, including liver disease, cholesterol abnormalities, and certain cancers, when

compared to the general population’s risk.” Rhodes, 636 F.3d at 95. The Fourth

Circuit held that this showing did not satisfy the injury requirement, emphasizing

that the plaintiffs’ increased exposure to toxic substances does not equate to a

showing that it is “reasonably certain” the plaintiffs would develop future injuries.

See id.

      Here, Plaintiff’s allegations are insufficient to plead an injury under a theory

of negligence, willful and wanton conduct, or strict liability. Plaintiff claims that

“Plaintiff and Class Members have suffered significant exposure to hazardous EtO

gases relative to the general population in the U.S.” Pl.’s First Amend. Class Action

Compl. ¶ 42 [ECF No. 27]. Further, Plaintiff claims that he and the putative Class

Members live in an area that has “been identified to present more than a doubled

increase likelihood of developing cancer” as compared to other areas of the country.



                                          7
 Case 2:19-cv-00877      Document 42       Filed 05/14/20   Page 8 of 15 PageID #: 319




Id. at ¶ 44. Plaintiff claims that he and the putative Class Members are “up to 11

times more likely to develop cancer than the average American.” Id. at ¶ 5. Letart nor

any of the putative Class Members have been diagnosed with cancer. Id. at ¶53. The

Complaint does not allege that Letart or any of the Class Members currently suffer

from any disease caused by exposure to EtO. Showing exposure to a toxic substance,

here EtO, does not in and of itself establish an injury for the purpose of causes of

action sounding in traditional tort law.

       Nowhere in the Complaint do Plaintiff and putative Class Members quantify

the alleged likelihood of developing cancer or other diseases from exposure to EtO.

Although the Complaint makes clear that Plaintiff and putative Class Members’ risk

of developing cancer is allegedly significantly higher than that of the average

American, the Complaint fails to contextualize the average risk of developing cancer.

Claiming that a person is more likely than the general population to develop a disease

does not equate to a plausible pleading that that person is “reasonably certain” to

develop a disease, and thus sustain future injuries. See Rhodes, 636 F.3d at 95; see

also Barker, 2018 WL 3824376, at *3. Plaintiff therefore fails to plausibly allege an

injury for his negligence and strict liability causes of action. Because he fails to allege

an injury for his negligence claim, he also fails to allege sufficient facts to state a

claim under the higher standard of willful and wanton conduct. Defendant’s Motion

is thus GRANTED as to Count I, III, and IV.

          b. Medical monitoring

       “A claim for medical monitoring seeks to recover the anticipated costs of long-



                                            8
 Case 2:19-cv-00877     Document 42      Filed 05/14/20   Page 9 of 15 PageID #: 320




term diagnostic testing necessary to detect latent diseases that may develop as a

result of tortious exposure to toxic substances.” Bower v. Westinghouse Elec. Corp.,

522 S.E.2d 424, 429 (W. Va. 1999). In other words, “a claim for medical monitoring is

essentially ‘a claim for future damages.’” Id. at 429–30 (quoting Ball v. Joy Techs.,

Inc., 958 F.2d 36, 39 (4th Cir.1991)).

      In order to sustain a claim for medical monitoring expenses under West

Virginia law, the plaintiff must prove that (1) he or she has, relative to the general

population, been significantly exposed; (2) to a proven hazardous substance; (3)

through the tortious conduct of the defendant; (4) as a proximate result of the

exposure, plaintiff has suffered an increased risk of contracting a serious latent

disease; (5) the increased risk of disease makes it reasonably necessary for the

plaintiff to undergo periodic diagnostic medical examinations different from what

would be prescribed in the absence of the exposure; and (6) monitoring procedures

exist that make the early detection of a disease possible. Acord v. Colane Co., 719

S.E.2d 761, 770 (W. Va. 2011) (citing Bower, 522 S.E.2d at 432).

      Importantly, to recover under medical monitoring, a plaintiff must still

demonstrate that a defendant’s conduct was tortious conduct. “[T]he need for future

medical monitoring does not create a new tort.” Id. It simply creates a “compensable

item of damage[,] [the cost of medical surveillance,] when liability is established

under traditional theories of recovery.” Id.

      I remain skeptical of the injury element of a medical monitoring cause of

action. But West Virginia law is clear that under Bower, “a plaintiff asserting a claim



                                           9
Case 2:19-cv-00877     Document 42        Filed 05/14/20    Page 10 of 15 PageID #: 321




for medical monitoring costs is not required to prove present physical harm resulting

from tortious exposure to toxic substances.” Bower, 522 S.E.2d at 431. An exposure

to a harmful substance “and the concomitant need for medical testing constitute the

injury.” Id. at 430. The decision in Bower, however, did not relax the standard for

establishing an injury. Rhodes, 636 F.3d at 98. The injury that underlies a claim for

medical monitoring is, as with any other tort, “the invasion of any legally protected

interest.” Bower, 522 S.E.2d at 430 (citing Restatement (Second) of Torts §7(1)

(1964)). “Although the physical manifestations of an injury may not appear for years,

the reality is that many of those exposed have suffered some legal detriment; the

exposure itself and the concomitant need for medical testing constitute the injury.”

Id. (citing Hansen v. Mountain Fuel Supply, 858 P.2d 970, 977 (Utah 1993)). In

Bower, the Supreme Court of Appeals of West Virginia further explained the injury

element of medical modeling by adopting the analysis from the D.C. Circuit:

             It is difficult to dispute that an individual has an interest
             in avoiding expensive diagnostic examinations just as he or
             she has an interest in avoiding physical injury. When a
             defendant negligently invades this interest, the injury to
             which is neither speculative nor resistant to proof, it is
             elementary that the defendant should make the plaintiff
             whole by paying for the examinations.

Id. (quoting Friends for All Children, Inc. v. Lockheed Aircraft Corp., 746 F.2d 816,

826 (D.C.Cir.1984) (footnote omitted)).

      In this case, Plaintiff has sufficiently alleged a claim for medical monitoring.

The Complaint identifies the putative class to include “all natural persons who have

resided   within   census    tracts   54039013200,         54039010200,   54039013600,



                                           10
Case 2:19-cv-00877     Document 42      Filed 05/14/20     Page 11 of 15 PageID #: 322




54039013300,      54039010600,      54039010701,         54039010500,    54039010400,

54039010300, 54039013400, 54039013500 (the “class zone”) for a period of one year

or more, at any point between January 1, 1981 and the date of this complaint (the

“class period”).” Pl.’s First Amend. Class Action Compl. ¶ 52 [ECF No. 27]. The

Complaint claims that the population living in these census tracts has been identified

to present more than a doubled increase in likelihood of developing cancer as

compared to the majority of the U.S. population living in other geographical areas.

See id. at ¶ 44. The Complaint clearly alleges that EtO is a known toxic substance

and that Plaintiff and putative Class Members have been significantly exposed to

higher concentrations of EtO than the general public because of their proximity to

Defendant’s manufacturing plant. These detailed allegations satisfy the pleading

requirement on the first two elements for a medical monitoring claim. See Bower, 522

S.E.2d at 432.

      The next element is tortious conduct. As previously stated, Defendant argues

that the Complaint does not include sufficient facts to state a claim for negligence,

willful and wanton conduct, or strict liability. Though I find that Plaintiff and Class

Members did not plausibly allege a cognizable injury under traditional tort law for

these causes of action, I disagree with Defendant as to the remaining elements. I

therefore find that Plaintiff plausibly alleges that Defendant’s conduct was tortious.

Plaintiff plausibly alleges negligent conduct. Defendant had a duty to operate its

Plant in Institute in a reasonably safe fashion, which includes taking appropriate

measures to minimize or eliminate the release of highly toxic substances into a



                                          11
Case 2:19-cv-00877     Document 42      Filed 05/14/20    Page 12 of 15 PageID #: 323




heavily populated community. See Strahin, 603 S.E.2d at 205 (discussing the

fundamental concepts of negligence law). Plaintiff alleges that Defendant breached

that duty by the following:

             a. [e]mitting dangerous volumes of EtO into the air; b.
             [f]ailing to employ safe methods to adequately control or
             eliminate EtO emissions from the facility; c. [f]ailing to use
             alternative manufacturing processes which would not
             result in the emission of EtO into neighboring
             communities; d. [f]ailing to locate its EtO manufacturing
             units in an unpopulated, or at least much less populated,
             area; and e. [f]ailing to warn neighboring residents being
             exposed to EtO at levels that increase their exposure to
             disease.

Pl.’s First Amend. Class Action Compl. ¶ 69 [ECF No. 27]. These factual allegations

plausibly allege breach. Further, Plaintiff plausibly alleges that Defendant engaged

in willful and wanton conduct—acting with the heightened mental state of conscious

disregard or utter indifference. The Complaint asserts the NIOSH, the HHS, the

WHO, and the EPA all classify EtO as a highly toxic substance and known human

carcinogen. Therefore, it is plausible that Defendant—as a manufacturer of EtO—

knew that its operations posed a potential danger to the surrounding community.

And it is further plausible that Defendant consciously disregarded those risks to the

health, safety, and well-being of that community by failing to employ safe methods,

use alternative manufacturing procedures, locate manufacturing in an unpopulated

area, and warn neighboring residents.

      Additionally, the Complaint plausibly alleges that Defendant’s manufacture

and emission of EtO at its plant in Institute constitutes an ultrahazardous activity.

The following factors are considered when determining whether an activity is

                                          12
Case 2:19-cv-00877     Document 42      Filed 05/14/20    Page 13 of 15 PageID #: 324




ultrahazardous:

             (a) existence of a high degree of risk of some harm to the
             person, land or chattels of others;
             (b) likelihood that the harm that results from it will be
             great;
             (c) inability to eliminate the risk by the exercise of
             reasonable care;
             (d) extent to which the activity is not a matter of common
             usage;
             (e) inappropriateness of the activity to the place where it is
             carried on; and
             (f) extent to which its value to the community is
             outweighed by its dangerous attributes.

Pinnacle Min. Co., LLC v. Bluestone Coal Corp., 624 F. Supp. 2d 530, 537 (S.D.W. Va.

2009) (citing In re: Flood Litigation, 607 S.E.2d 863, 874 (W. Va. 2004)); see also

Restatement (Second) of Torts §§ 519–20 (1977). I find it plausible, based on the

Complaint, that Defendant’s manufacturing of EtO is abnormally dangerous because

(1) the alleged highly toxic nature of the substance, (2) the alleged inability to

manufacture the substance without producing unsafe levels of emissions, (3) the

location of the plant in the populated area of Institute, and (4) the alleged lack of

value of EtO to the Institute community.

      The Complaint satisfies the tortious conduct element of medical monitoring

because I find that Plaintiff plausibly alleges Defendant’s conduct was negligent or

willful and wanton, and that the Defendant engaged in a type of activity for which it

would have been held strictly liable, had Plaintiff demonstrated a present injury.

      Turning to the fourth and fifth elements as articulated in Bower, I find that

the Complaint plausibly alleges that Plaintiff and putative Class Members suffer an

increased risk of contracting a serious latent disease as the result of Defendant’s

                                           13
Case 2:19-cv-00877       Document 42      Filed 05/14/20    Page 14 of 15 PageID #: 325




tortious conduct and that this increased risk makes medical examinations reasonably

necessary relative to what would be the case absent exposure. The Complaint alleges

that exposure to EtO at the levels in Institute creates a “significantly increased risk

of contracting cancer, including lymphomas, leukemias, myeloma, and breast cancer.”

Pl.’s First Amend. Compl. ¶ 82 [ECF No. 27]. As previously stated, the Complaint

alleges this risk makes Plaintiff and Class Members 11 times more likely to develop

cancer than compared to the general population according to the EPA. Id. at ¶ 5.

These facts are insufficient to establish that Plaintiff is “reasonably certain” to

develop cancer—i.e. not enough to plead an injury under negligence, willful and

wanton conduct, or strict liability. But these facts do plausibly show that Plaintiff

reasonably needs medical monitoring procedures that are different than would be

normally recommended absent his exposure to EtO.

         The Complaint further alleges that monitoring procedures to detect these

specific types of cancers exist and make early diagnosis possible, thus satisfying the

sixth element of the tort. See id. at ¶ 83. Accordingly, Plaintiff plausibly states a claim

for medical monitoring. Defendant’s Motion to Dismiss Count III is therefore

DENIED.

   IV.      Conclusion

         Defendant’s Motion to Dismiss, [ECF No. 33], is GRANTED as to Plaintiff’s

claims for negligence (Count I); ultrahazardous activity/ strict liability (Count II); and

willful and wanton conduct (Count IV). The Motion, [ECF No. 33], is DENIED as to

Plaintiff’s claim for medical monitoring (Count III). The court DIRECTS the Clerk to



                                            14
Case 2:19-cv-00877     Document 42    Filed 05/14/20   Page 15 of 15 PageID #: 326




send a copy of this Order to counsel of record and any unrepresented party.



                                             ENTER:       May 14, 2020




                                        15
